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                                   United States District Court
                                    DISTRICT OF MONTANA BILLINGS DIVISION


 UNITED STATES OF AMERICA                                                 JUDGMENT IN A CRIMINAL CASE


 V.

                                                                           Case Number: CR 19-144-BLG-SPW-3
 LYNN ROBERT KUNTZ                                                         USM Number: 17874-046
                                                                           Nicole R. Gallagher
                                                                           Defendant's Attorney



THE DEFENDANT:
 13    pleaded guilty to count(s)                        2 of the Indictment, filed 11/21/2019
       pleaded nolo contendere to count(s) which
 □
       was accepted by the court
      was found guilty on count(s) after a plea of
 □
       not guilty

The defendant is adjudicated guilty of these ofTenses:
 Title & Section / Nature of Offense                                                              Offense Ended   Count
 21 :841 A=Cd.F Possession With Intent To Distribute Methamphetamine and 18:2                     06/21/2019
 Aiding and Abetting.




The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

 13   Count 1 is dismissed on the motion of the United States


         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of
 material changes in economic circumstances.


                                                             November 5,2020
                                                             Dale of mposition of Judgmcnl




                                                             fignatiire olMudge
                                                                                             f-
                                                             Susan P. Walters
                                                             United States District Judge
                                                             Name and Tide of Judge


                                                             November 5,2020
                                                             Date
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